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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION
UNITED STATES,
          Plaintiff,

v.                                                       Case No. 91-80936
                                                         Honorable Patrick J. Duggan
VENUS COLEMAN,
         Defendant.

     OPINION AND ORDER DENYING DEFENDANT’S MOTION FOR WRIT OF
               CORAM NOBIS PURSUANT TO 28 U.S.C. § 1651

                        At a session of said Court, held in the U.S.
                           District Courthouse, Eastern District
                          of Michigan, on November 17, 2008.

               PRESENT:       THE HONORABLE PATRICK J. DUGGAN
                              U.S. DISTRICT COURT JUDGE

        On August 7, 2008, Defendant Venus Coleman filed the pending motion pursuant

to the All Writs Act, 28 U.S.C. § 1651. Defendant challenges her 1992 convictions for

(1) conspiracy to possess with intent to distribute and distribution of heroin and cocaine;

(2) money laundering; and (3) making a false statement. Defendant seeks a writ of coram

nobis, claiming that the Supreme Court’s decision in United States v. Santos, 128 S. Ct.

2020 (2008), renders her convictions invalid. In her brief in support of her motion,

Defendant also argues that her counsel was ineffective in not objecting to the

Government’s failure to establish to the jury that the purchase of automobiles and real

estate– i.e. the transactions on which the Government based the money laundering counts

against Defendant– impacted interstate commerce. For the following reasons,

Defendant’s writ of coram nobis is denied.
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       The Sixth Circuit Court of Appeals has permitted petitioners to seek writs of

coram nobis to challenge their federal sentences or convictions when a writ of habeas

corpus pursuant to 28 U.S.C. § 2255 is no longer available, for example where the

petitioners no longer are in custody. See, e.g., Blanton v. United States, 94 F.3d 227 (6th

Cir. 1996). While Defendant no longer is in custody, the Sixth Circuit has stated that a

coram nobis petition should be granted only when the petitioner demonstrates the

following: (1) an error of fact, (2) unknown at the time of trial, (3) of a fundamentally

unjust character which probably would have altered the outcome of the challenged

proceeding if it had been known. Flippins v. United States, 747 F.2d 1089, 1091 (6th Cir.

1984); see also Blanton, 94 F.3d at 231. Thus a defendant is not entitled to a writ of

coram nobis when he or she only alleges an error of law. See, e.g., Moore v. United

States, 79 Fed. App’x 788, 790 (6th Cir. 2003), cert. denied 541 U.S. 1069, 124 S. Ct.

2403 (2004).

       As she did in a previously filed motion for writ of coram nobis, Defendant

presently only alleges errors of law. Accordingly,

       IT IS ORDERED, that Defendant’s request for a writ of coram nobis is DENIED.

                                           s/PATRICK J. DUGGAN
                                           UNITED STATES DISTRICT JUDGE
Copies to:
Venus Coleman
1769 Regency Apt. 102
Canton, MI 48188

AUSA Wayne Pratt


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